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               EXHIBIT 4
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                            15480 Laguna Canyon Road
                            Suite I 00
                            Irvine, CA 926 18
                            888.699.5 600 toll free
                            949.34 1.0777 local
                            949.3'1 1.2200 fax
                            www.rushmorelm.com



April 28, 2021


Brian D. Flick
Dann Law


RE:        Mortgagor(s) - Timothy J. Richissin and Heidi C. Richissin
           Property Address - 3632 Berkeley Lane, Brunswick, OH 44212
           Loan N u m b e r - -

Dear Brian D. Flick:

Rushmore Loan Management Services LLC ("Rushmore") is responding to your correspondence dated
February 17, 2021, and received by our office on March 18, 2021, regarding the mortgage loan account
referenced above.

Please be advised this communication is sent for informational purposes only and is not intended as an
attempt to collect, assess, or recover a claim against, or demand payment from, any individual protected by
the U.S. Bankruptcy Code. If this account has been discharged in a bankruptcy proceeding, be advised this
communication is for informational purposes only and not an attempt to collect a debt.

The account statement generated on December 4, 2020, pre- dates the account reinstatement date of
December 24, 2020. Therefore, the amount shown as past due on the account statement generated on
December 4, 2020 was accurate.

The account statement generated on January 25, 2021, reflects the posting of the November 2020 monthly
installment that posted effective January 25, 2021, for $1,169.34. We provided the enclosed account
statement generated on January 30, 2021, which included a total payment due amount as $2,338.68. This
statement included the past due amount of $1,169.34 for January 2021 and $1,169.34 for the February 2021
billing. Please note that on the same day of account statement generation the December 2020 monthly
installments posted for $1,169.34.

Effective January 29, 2021, Rushmore reclassified $82.50 for property inspection fees assessed from July
2020 to January 2021. On this same day, we waived $75.00 of the late fee balance for $15.00 monthly late
fees assessed from September 2020 to January 2021.

We have enclosed a copy of the transaction covering the period from August 2020 to April 2021. Although
Rushmore has determined that no error occurred, please note that the consumer has the right to request the
documents relied upon by Rushmore in reaching its determination of whether an error occurred. We have
enclosed those documents for your records. As of the date of this correspondence, the account is
contractually due for the March 24, 2021, monthly installment for $1, 169.34. If you or the borrowers would
like to discuss available payment assistance options, please contact the assigned representative.

Rushmore Loan Management Services is a debt collector, who is attempting to collect a debt. Any information obtained will be used for that
purpose. If this debt is in or bas been discharged in a bankruptcy proceeding, be advised this communication is not an attempt to collect the debt
against you. Please note, however, we reserve the right to e.xercise the legal rights only against the property securing the original obligation. If
you are a confirmed Successor-in-Interest who bas not assumed the mortgage loan obligation under State Law, this letter is being sent for~
information purposes only and does not constitute personal liability with respect to the debt.                                              l.5.r
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                            Irvine, CA 926 18
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                            www.rushmorelm.com


Single Point of Contact ("SPOC"):
Name: Alfonso Castrejon
Direct Number: 949.341.5683

Should you have any additional questions, please do not hesitate to contact us.

Loss Mitigation Department
Monday through Friday, 8:00 a.m. to 6:00 p.m. Central Standard Time
Toll-free number: 1.888.504.6700


Sincerely,


Customer Correspondence Department
Rushmore Loan Management Services LLC

Enclosures (4)

By Email - notices@dannlaw.com




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